                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-143

                                        No. COA20-586

                                      Filed 20 April 2021

     Mecklenburg County, Nos. 18CRS203190, 19CRS2204

     STATE OF NORTH CAROLINA

                   v.

     ROMAN JERONE IRVINS


             Appeal by Defendant from judgment entered 23 October 2019 by Judge Lisa C.

     Bell in Mecklenburg County Superior Court. Heard in the Court of Appeals 24 March

     2021.


             Attorney General Joshua H. Stein, by Assistant Attorney General Donna A.
             Hart, for the State-Appellee.

             Edward Eldred for Defendant-Appellant.


             COLLINS, Judge.


¶1           Defendant appeals from judgment entered upon a jury verdict of guilty of

     felony habitual larceny and a plea of guilty to attaining habitual felon status.

     Defendant contends that his indictment for felony habitual larceny was facially

     invalid because an attempted larceny conviction is not an eligible count of larceny to

     support an indictment for felony habitual larceny under N.C. Gen. Stat. § 14-72(b)(6).

     We agree.    We arrest judgment on Defendant’s habitual larceny conviction and
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     remand to the trial court for sentencing and entry of judgment for misdemeanor

     larceny.   We reverse the judgment entered upon Defendant’s guilty plea to the

     habitual felon charge and remand to the trial court for dismissal.

                                      I.      Background

¶2         Defendant was indicted on 28 January 2019 for felony habitual larceny and

     attaining habitual felon status. The felony habitual larceny indictment alleged that

     Defendant “did unlawfully, willfully, and feloniously steal, take and carry away three

     (3) sets of headphones, the personal property of Target Stores, Incorporated,” and had

     the following four larceny convictions: (1) misdemeanor larceny on 22 October 2008

     in Union County; (2) misdemeanor larceny on 19 June 2012 in Mecklenburg County;

     (3) habitual larceny on 2 November 2015 in Union County; and (4) misdemeanor

     larceny on 6 June 2016 in Union County. The State moved to amend the felony

     habitual larceny indictment to allege that Defendant’s conviction on 22 October 2008

     was for attempted misdemeanor larceny rather than misdemeanor larceny, which the

     trial court allowed over Defendant’s objection. Defendant was ultimately found guilty

     of felony habitual larceny and pled guilty to attaining habitual felon status, while

     reserving the right to appeal the felony habitual larceny conviction. Defendant was

     sentenced to 77 to 105 months in prison. Defendant gave oral notice of appeal.

                                II.   Standard of Review

¶3         “[W]here an indictment is alleged to be invalid on its face, thereby depriving
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     the trial court of its jurisdiction, a challenge to that indictment may be made at any

     time, even if it was not contested in the trial court.” State v. Wallace, 351 N.C. 481,

     503, 528 S.E.2d 326, 341 (2000) (citations omitted).         This Court reviews the

     sufficiency of an indictment de novo. State v. White, 372 N.C. 248, 250, 827 S.E.2d

     80, 82 (2019).

                                      III.   Analysis

¶4         Defendant’s sole argument on appeal is that his indictment for felony habitual

     larceny was facially invalid because an attempted larceny conviction is not an eligible

     count of larceny to support an indictment for felony habitual larceny under N.C. Gen.

     Stat. § 14-72(b)(6).

¶5         To be sufficient under our Constitution, an indictment “must allege lucidly and

     accurately all the essential elements of the offense endeavored to be charged.” State

     v. Hunt, 357 N.C. 257, 267, 582 S.E.2d 593, 600 (2003) (citation omitted); see also

     State v. Brice, 370 N.C. 244, 250, 806 S.E.2d 32, 36-37 (2017) (noting that defendant’s

     indictment for felony habitual larceny alleged all essential elements because, in part,

     it alleged defendant had four prior convictions for misdemeanor larceny).          “[A]

     criminal defendant is guilty of the felony of habitual misdemeanor larceny in the

     event that he or she took the property of another and carried it away without the

     owner’s consent and with the intent to deprive the owner of his property

     permanently,” Brice, 370 N.C. at 248, 806 S.E.2d at 35 (quotation marks and citation
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     omitted), “after having been previously convicted of an eligible count of larceny on

     four prior occasions.” Id. at 248, 806 S.E.2d at 36 (citing N.C. Gen. Stat. § 14-72(b)(6)).

¶6         An eligible count of larceny is a conviction in this State, or in any other

     jurisdiction, for: (1) any offense of larceny under N.C. Gen. Stat. § 14-72; (2) any

     offense “deemed or punishable as larceny” under N.C. Gen. Stat. § 14-72; or (3) “any

     substantially similar offense in any other jurisdiction, regardless of whether the prior

     convictions were misdemeanors, felonies or a combination thereof[.]” N.C. Gen. Stat.

     § 14-72(b)(6) (2019).

¶7         The common law elements of larceny are that the defendant: (1) took the

     property of another; (2) carried it away; (3) without the owner’s consent; and (4) with

     the intent to deprive the owner of his property permanently. State v. Boykin, 78 N.C.

     App. 572, 576, 337 S.E.2d 678, 681 (1985). Larceny is punishable under N.C. Gen.

     Stat. § 14-72. Larceny is a Class 1 misdemeanor “where the value of the property or

     goods is not more than one thousand dollars ($ 1,000)[.]” N.C. Gen. Stat. § 14-72(a).

     Larceny is a felony where evidence supports additional statutory elements set forth

     in N.C. Gen. Stat. § 14-72(a) and (b).

¶8         “Attempted larceny is a lesser-included offense of larceny.” State v. Primus,

     227 N.C. App. 428, 431, 742 S.E.2d 310, 313 (2013) (citation omitted). An attempt is

     an “intentional ‘overt act’ done for the purpose of committing a crime but falling short

     of the completed crime.” State v. Broome, 136 N.C. App. 82, 87, 523 S.E.2d 448, 453
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       (1999) (citations omitted).    As the State concedes, “attempted larceny is not a

       completed larceny under N.C. [Gen. Stat.] §14-72[.]”

¶9            Attempted misdemeanor larceny is not “deemed or punishable” as larceny

       under N.C. Gen. Stat. § 14-72. Pursuant to N.C. Gen. Stat. § 14-2.5, “[u]nless a

       different classification is expressly stated, . . . an attempt to commit a misdemeanor

       . . . is punishable under the next lower classification as the offense which the offender

       attempted to commit.” N.C. Gen. Stat. § 14-2.5 (2019). Neither section 14-72 nor 14-

       2.5 expressly state the classification for an attempted misdemeanor larceny.

       Accordingly, attempted misdemeanor larceny is punishable under N.C. Gen. Stat. §

       14-2.5 as a Class 2 misdemeanor, the next lower classification of a Class 1

       misdemeanor larceny under N.C. Gen. Stat. § 14-74(a).

¶ 10          Finally, it is uncontested that Defendant’s conviction for attempted

       misdemeanor larceny was from Union County, North Carolina, so it is not a

       “substantially similar offense” from another jurisdiction. See N.C. Gen. Stat. 14-

       72(b)(6).

¶ 11          Because attempted misdemeanor larceny does not fit within any of the three

       statutory categories set forth in N.C. Gen. Stat. § 14-72(b)(6), attempted larceny is

       not an eligible count of larceny to support an indictment for felony habitual larceny.

¶ 12          The State argues that because the indictment alleges Defendant had a prior

       conviction for habitual larceny, that conviction is evidence that Defendant had four
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       eligible convictions for larceny. However, as “[t]he purpose of an indictment is to

       inform the defendant of the charge against him with sufficient certainty to enable

       him to prepare a defense[,]” State v. Bullock, 154 N.C. App. 234, 244, 574 S.E.2d 17,

       23 (2002), an indictment “must allege lucidly and accurately all the essential

       elements of the offense endeavored to be charged[,]” Hunt, 357 N.C. at 267, 582 S.E.2d

       at 600. Accordingly, a habitual larceny indictment must specifically allege each of

       the four eligible counts of larceny of which a defendant was convicted. See Brice, 370

       N.C. at 249-50, 806 S.E.2d at 36-37 (a habitual larceny indictment must allege the

       defendant was convicted of “an eligible count of larceny” on “four separate occasions”).

       A prior habitual larceny conviction is only one eligible count of larceny for purposes

       of N.C. Gen. Stat. § 14-72(b)(6).

¶ 13         Because attempted misdemeanor larceny is not an eligible count of larceny to

       support an indictment for felony habitual larceny under N.C. Gen. Stat. § 14-72(b)(6),

       the indictment failed to allege all essential elements of this offense. “When an

       indictment has failed to allege the essential elements of the crime charged, it has

       failed to give the trial court subject matter jurisdiction over the matter, and the

       reviewing court must arrest judgment.” Bullock, 154 N.C. App. at 244, 574 S.E.2d at

       23 (citations omitted).    Accordingly, we arrest judgment on Defendant’s felony

       habitual larceny conviction.

¶ 14         Generally, “[t]he legal effect of arresting the judgment is to vacate the verdict
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       and sentence of imprisonment below, and the State, if it is so advised, may proceed

       against the defendant upon a sufficient bill of indictment.” State v. Fowler, 266 N.C.

       528, 531, 146 S.E.2d 418, 420 (1966) (citations omitted).       However, “where the

       indictment does sufficiently allege a lesser-included offense, we may remand for

       sentencing and entry of judgment thereupon.” Bullock, 154 N.C. App. at 245, 574

       S.E.2d at 24. As Defendant’s indictment sufficiently alleged misdemeanor larceny

       and the jury’s verdict of guilty of felony habitual larceny necessarily means that they

       found all of the elements of the lesser-included offense of misdemeanor larceny, we

       remand this case to the trial court for sentencing and entry of judgment for

       misdemeanor larceny. See id. at 245, 574 S.E.2d at 24 (remanding defendant’s case

       to the trial court for imposition of judgment on attempted voluntary manslaughter as

       a lesser-included offense of attempted first degree murder, because all of the elements

       of attempted voluntary manslaughter were alleged in the indictment).

¶ 15         Furthermore, because the judgment for Defendant’s conviction for felony

       habitual larceny has been arrested and the case remanded to the trial court for

       sentencing and entry of judgment for misdemeanor larceny, the judgment entered

       upon Defendant’s guilty plea to the habitual felon charge must be reversed and

       remanded to the trial court for dismissal. See State v. Flint, 199 N.C. App. 709, 717,

       682 S.E.2d 443, 448 (2009) (“In North Carolina, an habitual felon indictment must be

       ancillary to a substantive felony and cannot stand on its own.”) (citation omitted).
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                                      IV.     Conclusion

¶ 16         Defendant’s indictment was facially invalid because it failed to contain

       allegations of four eligible larceny convictions, an essential element of a felony

       habitual larceny indictment. The judgment on Defendant’s felony habitual larceny

       conviction is arrested and the case is remanded to the trial court for sentencing and

       entry of judgment for misdemeanor larceny. Defendant’s guilty plea to the habitual

       felon charge is reversed and remanded to the trial court for dismissal.

             JUDGMENT        ARRESTED         IN   PART;      REVERSED   IN      PART;   AND

       REMANDED.

             Judges DILLON and ZACHARY concur.
